 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 1 of 29 Page ID #:94




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     and Minburn Technology Group, LLC
11
12                               UNITED STATES DISTRICT COURT
13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14 UNITED STATES OF AMERICA EX                             )
15 REL. ANTHONY COLANGELO and
   MINBURN TECHNOLOGY GROUP,
                                                           ) Case No. 2:14-cv-05865-RGK-JPR
                                                           )
16 LLC, a Virginia limited liability                       )
     company,                                              )
17                                                         )   RELATORS’ FIRST AMENDED
                    Plaintiff,                             ) COMPLAINT FOR DAMAGES AND
18                                                         ) PENALTIES UNDER THE FALSE
     v.                                                    )   CLAIMS ACT, 31 U.S.C. §§ 3729-
19                                                         )                 3732
     MODERN GOV IT, INC., formerly “En                     )
20   Pointe Gov, Inc.,” a Delaware                         )
     corporation; DINCO, INC., formerly “En                )
21   Pointe Technologies, Inc.,” a Delaware                )
     corporation; COLLAB9, INC., formerly                  )
22   “En Pointe Technologies Sales, Inc.,” a               )
     Delaware corporation; DOMINGUEZ                       )
23   EAST HOLDINGS, LLC, a California                      )
     limited liability company; and DIN                    )
24   GLOBAL CORP., a Delaware                              )
     corporation,                                          )
25                                                         )
                    Defendants.                            )
26
27
28
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND                 CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 2 of 29 Page ID #:95




 1          COMES NOW Plaintiff the United States of America, by and through qui tam

 2 relators Anthony Colangelo and Minburn Technology Group, LLC (collectively,
 3
     “Relators”), who brings this action under the False Claims Act, 31 U.S.C. § 3729, et
 4
 5 seq. (“FCA”), and for the complaint against Defendants alleges as follows:
 6
                                               INTRODUCTION
 7
            1.      This is an action brought on behalf of the United States to recover
 8
 9 damages, obtain disgorgement, and impose civil penalties resulting from the knowingly
10
     false and/or fraudulent claims, records, certifications, and/or statements made, used, or
11
12 caused to be made or used by the Defendants from at least 2005 through the present to
13 obtain small business set-aside government contracts for the provision of information
14
     technology (“IT”) products and services for which they were not eligible and to avoid
15
16 payment of fees required as part of their participation in the General Services
17 Administration’s (“GSA”) Multiple Award Schedule (“MAS”) program.
18
            2.      Specifically, Defendants have conspired to repeatedly and falsely represent
19
20 and certify that Defendant Modern Gov IT, Inc. (formerly En Pointe Gov, Inc.) is a
21
     small business concern (or caused such to be represented or certified), thereby
22
23 fraudulently making it eligible to compete for and to be awarded small business set-
24 aside government contracts. Defendants essentially have used En Pointe Gov, Inc. as a
25
     “front” for the large-business operations of Defendant DINCO, INC. (formerly En
26
27 Pointe Technologies, Inc.) and COLLAB9, INC. (formerly En Pointe Technologies
28
                                                           2
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 3 of 29 Page ID #:96




 1 Sales, Inc.), and their various affiliates, to gain access to hundreds of millions of dollars
 2 in small business set-aside contracts for which they would not otherwise qualify.
 3
            3.      Further, Defendants also have conspired to substantially underreport En
 4
 5 Pointe Gov, Inc.’s sales under its GSA IT Schedule 70 MAS contract, No. GS-35F-
 6
     0372N, on the company’s quarterly GSA Form 72A, Contractor Report of Sales since at
 7
     least the quarter ending December 31, 2007, thereby avoiding more than $1 million in
 8
 9 Industrial Funding Fees owed to the GSA and concealing the falsity of its small
10
     business concern certifications.
11
12          4.      In fact, En Pointe Gov, Inc. has, from its creation, been an affiliate of,

13 among others, Defendant En Pointe Technologies, Inc., a large, global IT products and
14
     services company with thousands of employees and annual revenues in excess of $300
15
16 million.
17          5.      By their conduct, Defendants have, to date, falsely and fraudulently
18
     obtained at least 157 small business set-aside requirements with a value in excess of $48
19
20 million. At the same time, Defendant En Pointe Gov, Inc. has falsely and fraudulently
21
     failed to report more than 90 percent of its GSA Schedule 70 sales, thereby avoiding
22
23 more than $1 million in fees (and likely more) and concealing the fact that, in 2012 and
24 2013, its GSA sales alone have exceeded the revenue-based size standards established
25
     by the Small Business Administration for some of the industry categories for which
26
27 Defendant En Pointe Gov, Inc. claims small business status.
28
                                                           3
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND                CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 4 of 29 Page ID #:97




 1          6.      Accordingly, and as detailed below, Defendants are liable to the United

 2 States for the value of more than $48 million in falsely and fraudulently obtained small
 3
     business set-aside contracts, at least $1.4 million in falsely and fraudulently avoided
 4
 5 GSA Industrial Funding Fees, treble damages of approximately $148 million, and civil
 6
     penalties of in excess of $3.8 million reflecting at least 352 instances of false
 7
     representations and/or claims made to the United States.
 8
 9                                    JURISDICTION AND VENUE
10
            7.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345,
11
12 and 1367(a) and 31 U.S.C. § 3732.
13          8.      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.
14
     § 3732(a), which authorizes nationwide service of process in cases brought under the
15
16 False Claims Act, and because, inter alia, all five Defendants have offices in this
17 District, have transacted business in this District, have engaged in wrongdoing in this
18
     District, and have at least minimum contacts with the District.
19
20          9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 31 U.S.C.
21
     § 3732(a) because all five Defendants can be found in this District, all five transact
22
23 business there, and acts proscribed by 31 U.S.C. § 3729 occurred there.
24                                                  PARTIES
25
            10.     Relator, Anthony Colangelo, is a resident of the Commonwealth of
26
27 Virginia. Relator Colangelo is the Managing Member of Relator Minburn Technology
28
                                                           4
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 5 of 29 Page ID #:98




 1 Group, LLC, a Virginia limited liability company and service-disabled veteran-owned
 2 small business with its primary office located in Great Falls, Virginia.
 3
            11.     Defendants are a group of companies that provide (or provided) IT
 4
 5 products and services to commercial enterprises, educational and healthcare institutions,
 6
     government agencies, and non-profits. They are all owned, directly or indirectly, by
 7
     Attiazaz “Bob” Din (EN POINTE’s founder and CEO); his wife, Naureen Din (also a
 8
 9 member of the Board of Directors); and members of their family.
10
            12.     Defendant Modern Gov IT, Inc., formerly En Pointe Gov, Inc. (hereinafter
11
12 “EN POINTE GOV”), is a Delaware corporation with its principal place of business
13 located at 18701 S. Figueroa Street, Gardena, California 90248-4506. It was created as
14
     a wholly-owned subsidiary of EN POINTE and remained so until January 1, 2011, when
15
16 it became a wholly-owned subsidiary of DEH. Subsequent to the filing of Relators’
17 original Complaint in this action, EN POINTE GOV changed its name to Modern Gov
18
     IT, Inc.
19
20          13.     Defendant DINCO, INC., formerly En Pointe Technologies, Inc.
21
     (hereinafter “EN POINTE”), is a Delaware corporation with its principal place of
22
23 business located at 18701 S. Figueroa Street, Gardena, California 90248-4506. Since
24 March 2009, it has been a wholly-owned subsidiary of DIN GLOBAL. Subsequent to
25
     the filing of Relators’ original Complaint in this action, EN POINTE changed its name
26
27 to DINCO, INC.
28
                                                           5
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 6 of 29 Page ID #:99




 1          14.     Defendant COLLAB9, INC., formerly En Pointe Technologies Sales, Inc.

 2 (hereinafter “EN POINTE SALES”), is a Delaware corporation with its principal place
 3
     of business located at 18701 S. Figueroa Street, Gardena, California 90248-4506. It is a
 4
 5 wholly-owned subsidiary of EN POINTE. Subsequent to the filing of Relators’ original
 6
     Complaint in this action, EN POINTE SALES changed its name to COLLAB9, INC.
 7
            15.     Defendant Din Global Corp. (hereinafter “DIN GLOBAL”) is a Delaware
 8
 9 corporation with its principal place of business located at 18701 S. Figueroa Street,
10
     Gardena, California 90248-4506. DIN GLOBAL is a holding company, incorporated
11
12 on February 4, 2009, which acquired EN POINTE on or about March 11, 2009. DIN
13 GLOBAL is owned by Attiazaz “Bob” Din, his wife, Naureen Din, and various
14
     members of the Din family.
15
16          16.     Defendant Dominguez East Holdings, LLC (hereinafter “DEH”) is a
17 California corporation with its principal place of business located at 18701 S. Figueroa
18
     Street, Gardena, California 90248-4506. DEH is a holding company, incorporated on
19
20 November 4, 2010, which acquired EN POINTE GOV on or about January 1, 2011.
21
     The President and sole owner of DEH is Ali Din, the son of Attiazaz “Bob” Din.
22
23                                           The False Claims Act

24          17.     The False Claims Act makes subject to legal action any person who
25
     knowingly presents or causes to be presented false or fraudulent claims for payment or
26
27 approval to the United States. 31 U.S.C. § 3729(a)(1). The FCA also makes subject to
28
                                                           6
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 7 of 29 Page ID #:100




 1 suit any person who “knowingly makes, uses, or causes to be made or used a false
 2 record or statement material to a false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(B).
 3
            18.     The term “knowingly” under the FCA means that a person, with respect to
 4
 5 information, (a) has actual knowledge of the information, (b) acts in deliberate
 6
     ignorance of the truth or falsity of the information, or (c) acts in reckless disregard of
 7
     the truth or falsity of the information. 31 U.S.C. § 3728(b)(1). No proof of specific
 8
 9 intent to defraud is required to show a person acted knowingly under the FCA. 31
10
     U.S.C. § 3729(b).
11
12          19.     The FCA provides for recovery of three times the damages sustained by the

13 United States (“treble damages”) plus a civil penalty for each false claim presented or
14
     caused to be presented. This penalty is to be not less than $5,500 and not more than
15
16 $11,000, per instance. 31 U.S.C. § 3729(a); 28 C.F.R. § 85.3(a)(9).
17                                          The Small Business Act
18
            20.     Congress established the Small Business Administration (“SBA”) in 1953.
19
20 The SBA is a cabinet-level agency headquartered in Washington, D.C. Its mission is to
21
     preserve free competitive enterprise and to maintain and strengthen the overall economy
22
23 of our nation by assisting in and facilitating the creation and growth of small businesses,
24 a critical component of the country’s economic strength and health.
25
            21.     As set forth in Section 2 of the Small Business Act:
26
27
28
                                                           7
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 8 of 29 Page ID #:101




 1          The essence of the American economic system of private enterprise is free

 2          competition. Only through full and free competition can free markets, free
 3
            entry into business, and opportunities for the expression and growth of
 4
 5          personal initiative and individual judgment be assured. The preservation
 6
            and expansion of such competition is basic not only to the economic well-
 7
            being but to the security of this Nation. Such security and well-being
 8
 9          cannot be realized unless the actual and potential capacity of small business
10
            is encouraged and developed. It is the declared policy of the Congress that
11
12          the Government should aid, counsel, assist, and protect, insofar as is

13          possible, the interests of small-business concerns in order to preserve free
14
            competitive enterprise, to insure that a fair proportion of the total purchases
15
16          and contracts or subcontracts for property and services for the Government
17          (including but not limited to contracts or subcontracts for maintenance,
18
            repair, and construction) be placed with small-business enterprises, to
19
20          insure that a fair proportion of the total sales of Government property be
21
            made to such enterprises, and to maintain and strengthen the overall
22
23          economy of the Nation.

24 15 U.S.C. § 631(a).
25
            22.     The Federal Acquisition Regulations (“FAR”) further state that “[i]t is the
26
27 policy of the United States that small business concerns … shall have the maximum
28
                                                           8
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
 Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 9 of 29 Page ID #:102




 1 practicable opportunity to participate in performing contracts let by any Federal agency
 2 ….” FAR 52.219-8 (“Utilization of Small Business Concerns”).
 3
            23.     The SBA is responsible for developing and administering initiatives to
 4
 5 encourage the selection of small businesses to perform government contracts. These
 6
     efforts include various programs setting aside certain government contracts exclusively
 7
     for small business concerns.
 8
 9          24.     In the Small Business Act, Congress created a government-wide goal for
10
     contracting to small businesses, which is currently 23% of federal executive agency
11
12 procurements. 15 U.S.C. § 644(g). Each year, the SBA reports on each of the federal
13 agencies’ progress in reaching its goal. In order to meet the small business contracting
14
     goals, each federal agency involved in procurement creates opportunities called “set-
15
16 asides” for either all small businesses or a subset of small businesses to compete against
17 a pool of like-size contractors. This allows small businesses to gain opportunities they
18
     might not have had competing against larger, resource-rich companies.
19
20          25.     For the purposes of federal procurement programs for which status as a
21
     small business concern is required, a concern must not exceed the size standard
22
23 established by the SBA for the type of services at issue. The size standard is articulated
24 in terms of either the maximum allowable average number of employees in a 12-month
25
     period or the maximum allowable average annual receipts over a three-year period. The
26
27 specific standard varies based upon the particular industry at issue. Each size standard
28
                                                           9
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 10 of 29 Page ID #:103




 1 is matched to an industry code described in the North American Industry Classification
 2 System (“NAICS”), and the table is published annually in the Federal Register. 13
 3
     C.F.R. § 121.101.
 4
 5          26.     For example, NAICS Code 541519 for “Other Related Computer Services”
 6
     has a size standard of average annual revenues of $25.5 million or less or, in the case of
 7
     “Information Technology Value Added Resellers,” 150 employees or less. 13 C.F.R. §
 8
 9 121.201.
10
            27.     Businesses may have a primary NAICS code, but may also qualify for
11
12 other NAICS codes depending on their business activities.
13          28.     To qualify for small business status, a company may not be affiliated with
14
     any other entities which, when combining the assets, employees, or other size factors of
15
16 the affiliated company or companies with the business, would cause the business to
17 exceed the size standards.
18
            29.     The SBA determines whether an entity qualifies as a small business
19
20 concern by counting its receipts, employees, or other measure including those of all its
21
     domestic and foreign affiliates, regardless of whether the affiliates are organized for
22
23 profit. 13 C.F.R. § 121.103(a)(6).
24          30.     “Affiliation” exists when one business controls or has the power to control
25
     another or when a third party (or parties) controls or has the power to control both
26
27 businesses. 13 C.F .R. § 121.103(a)(1). Control may arise through “ownership,
28
                                                          10
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 11 of 29 Page ID #:104




 1 management, previous relationships with or ties to another concern, and contractual
 2 relationships.” 13 C.F.R. § 121.103(a)(2). If one or more officers, directors, managing
 3
     members, or general partners of a business controls the Board of Directors and/or the
 4
 5 management of another business the businesses are affiliates. 13 C.F.R. § 121.103(e).
 6
            31.     “Affiliation” also exists when there is an identity of interest between
 7
     individuals or businesses, including family members. Individuals or firms that have
 8
 9 identical (or substantially identical) business or economic interests may be treated as
10
     though they are affiliated unless they can demonstrate otherwise. Family members,
11
12 persons with common investments, or firms that are economically dependent through
13 contractual (or other) relationships, are among those treated this way. Patterns of
14
     subcontracting, commingling of staff and/or facilities, and other veiled attempts to
15
16 disguise the true nature of the relationship may evidence an identity of interest. 13
17 C.F.R. § 121.103(t).
18
            32.     Additionally, “Affiliation” exists under the “Newly Organized Concern
19
20 Rule”:
21
            Affiliation may arise where former officers, directors, principal
22
23          stockholders, managing members, or key employees of one concern

24          organize a new concern in the same or related industry or field of
25
            operation, and serve as the new concern’s officers, directors, principal
26
27          stockholders, managing members, or key employees, and the one concern
28
                                                          11
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 12 of 29 Page ID #:105




 1          is furnishing or will furnish the new concern with contracts, financial or

 2          technical assistance, indemnification on bid or performance bonds, and/or
 3
            other facilities, whether for a fee or otherwise …. A “key employee” is an
 4
 5          employee who, because of his/her position in the concern, has a critical
 6
            influence in or substantive control over the operations or management of
 7
            the concern.
 8
 9 13 C.F.R. § 121.103(g).
10
            33.     Eligibility for small business opportunities is generally determined on a
11
12 procurement-by-procurement basis. Each procurement officer must classify the product
13 or service being sought in a particular NAICS code, identify the size standard that the
14
     SBA has set for that code and specify the standard in the solicitation, so businesses can
15
16 correctly determine if they qualify as small for that particular solicitation. FAR 19.102.
17 A business may generally qualify as small under their primary NAICS code, but may
18
     not qualify as small for a particular procurement and vice-versa.
19
20          34.     Businesses that do not qualify as a small business concern are labeled as
21
     “other than small.” Being “other than small” is not the same as being large; it only
22
23 means that the company does not qualify under the parameters set by Congress and the
24 SBA to be classified as a small business concern for a procurement only available to
25
     small businesses.
26
27
28
                                                          12
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 13 of 29 Page ID #:106




 1          35.     The SBA relies on businesses to self-certify their qualification as a small

 2 business when bidding on a contract. As a condition of bidding on government
 3
     contracts, a company is required to register. Effective July 30, 2012, registration has
 4
 5 been required through the System for Award Management (“SAM”). Prior to that time,
 6
     contractors were required to register with the Central Contractor Registration (“CCR”).
 7
            36.     In registering or renewing its registration (which must be done at least
 8
 9 annually), a business provides general information and, among other things, certifies
10
     whether it as a small business.
11
12          37.     It is a federal criminal offense to “misrepresent[ ] the status of any concern

13 or person as a ‘small business concern’ … in order to obtain for oneself or another any”
14
     prime contract or subcontract. 15 U.S.C. § 645.
15
16          38.     When a company bids on set-aside government contracts by
17 misrepresenting its organizational status or affiliations with larger, non-qualified
18
     businesses, it takes contracts away from legitimate small businesses and undermines the
19
20 objectives of the SBA.
21
            39.     The Small Business Act provides that any business that misrepresents its
22
23 status as a small business concern shall be subject to penalties under the False Claims
24 Act. 15 U.S.C. § 637(m)(5)(C).
25
            40.     Pursuant to 15 U.S.C. § 632(w)(1), there is a “presumption of loss to the
26
27 United States based on the total amount expended on the contract … whenever it is
28
                                                          13
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 14 of 29 Page ID #:107




 1 established that a business concern other than a small business concern willfully sought
 2 and received the award by misrepresentation.”
 3
            41.     Further, 15 U.S.C. § 632(w)(2) states that:
 4
 5          The following actions shall be deemed affirmative, willful, and intentional
 6
            certifications of small business size and status:
 7
            (A) Submission of a bid or proposal for a Federal grant, contract, [or]
 8
 9          subcontract … reserved, set aside, or otherwise classified as intended for
10
            award to small business concerns.
11
12          (B) Submission of a bid or proposal for a Federal grant, contract, [or]

13          subcontract … which in any way encourages a Federal agency to classify
14
            the bid or proposal, if awarded, as an award to a small business concern.
15
16          (C) Registration on any Federal electronic database for the purpose of
17          being considered for award of a Federal grant, contract, [or] subcontract ….
18
                EN POINTE GOV’s False Statements, Certifications, and Claims
19
20          42.     EN POINTE GOV has, at least 221 times, falsely stated, represented, or
21
     certified to the United States that it is a small business concern.
22
23          43.     First, in EN POINTE GOV’s certifications made through SAM on at least

24 the following dates, representatives of EN POINTE GOV certified that it was both “a
25
     small business concern” and “a small business disadvantaged concern as defined in 13
26
27 C.F.R. 124.1002”:
28
                                                          14
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 15 of 29 Page ID #:108




 1         March 22, 2012                      August 5, 2013          June 10, 2014

 2          May 21, 2013                     January 28, 2014          June 12, 2014
 3
            44.     Each time, the representative further specifically certified that EN POINTE
 4
 5 GOV is a small business under the SBA’s size standards for each of the following
 6
     NAICS codes:
 7
                      334112                       423430                  541513
 8
 9                    334418                       511210           541519 (exception 1)
10
                      334513                       541511           541519 (exception 2)
11
12                    335999                       541512                  811212

13          45.     Further, in some certifications, EN POINTE GOV also specifically
14
     certified that it was a small business under the SBA’s size standards for former NAICS
15
16 codes 334111, 334113, 334119, 334611, 334613, and 443120.
17          46.     Second, in requesting modification of its IT Schedule 70 MAS contract in
18
     or about August 2010, EN POINTE GOV falsely represented to GSA that it was a small
19
20 business concern.
21
            47.     Third, EN POINTE GOV again falsely represented to GSA that it was a
22
23 small business concern in connection with GSA’s exercise of a five-year option on GSA
24 Schedule GS-35F-0372N in or about March 2013.
25
            48.     Fourth, EN POINTE GOV falsely represented to the United States that it
26
27 was a small business concern in bidding for orders and/or contracts which were
28
                                                          15
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 16 of 29 Page ID #:109




 1 specifically identified as small business set-asides, including but not limited to the
 2 following:
 3
      Contract No.                          Agency                  Award Date          Amount
 4
 5 GS35F0372N               Dept. of Defense (HQ Services /          8/22/2013          $496,723.68
                            Office of the Secretary of
 6
                            Defense Communications)
 7
     GS35F0372N             Small Business Administration            9/25/2013       $4,712,828.40
 8
 9 GS35F0372N               Dept. of Defense                         3/12/2014       $1,746,380.84
10 GS35F0372N               Securities and Exchange                  5/22/2014       $7,655,992.53
11                          Commission
12 GS35F0372N               Dept. of Education                       5/30/2014      $11,846,293.00
13
     EDCIO14A0002 Dept. of Education                                 5/30/2014       $2,137,331.80
14
15          49.     All of the foregoing statements, representations, and/or certifications were
16 knowingly false.
17
            50.     Because of its affiliation with EN POINTE, among others, EN POINTE
18
19 GOV, at the time it made such statements, representations, and/or certifications, did not
20
     meet the size standards for any of the NAICS codes set forth above in paragraphs 44
21
     and 45 by virtue of its affiliation with EN POINTE, among others.
22
23          51.     Throughout its existence, EN POINTE GOV has been owned and
24
     controlled by EN POINTE, an EN POINTE subsidiary, a common parent company,
25
26 and/or members of the Din family.
27
28
                                                          16
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND                  CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 17 of 29 Page ID #:110




 1           52.    From its incorporation in 2000 through 2010, EN POINTE GOV was a

 2 wholly-owned subsidiary of EN POINTE.
 3
             53.    On or about January 1, 2011, EN POINTE GOV became a wholly-owned
 4
 5 subsidiary of DEH which in turn was owned by Ali Din, the son of Bob Din, the
 6
     founder, CEO, and majority owner of EN POINTE.
 7
             54.    The same immediate family members, the Dins, are the ultimate owners of
 8
 9 both EN POINTE and EN POINTE GOV.
10
             55.    EN POINTE had more than 1,000 employees.
11
12           56.    Until 2009, EN POINTE was a publicly-traded stock corporation listed on

13 the NASDAQ Stock Market.
14
             57.    Since at least 1999, EN POINTE has had annual revenues in excess of
15
16 $200 million, exceeding $500 million in some years.
17           58.    EN POINTE GOV shares the same principal business address and office
18
     with EN POINTE, i.e., 18701 S. Figueroa Street, Gardena, California 90248-4506.
19
20           59.    EN POINTE GOV shares a telephone number with EN POINTE: 310-337-
21
     5200.
22
23           60.    The same individuals have acted on behalf of both EN POINTE and EN

24 POINTE GOV, both by virtue of simultaneously holding positions with both companies
25
     and irrespective of their nominal employment by one entity or the other, including by
26
27 signing certifications to the government, serving in management positions, serving as
28
                                                          17
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 18 of 29 Page ID #:111




 1 contract administrators and/or government points of contact for both entities, and
 2 attending meetings with vendors.
 3
            61.     EN POINTE GOV utilizes special partnerships, authorizations, and other
 4
 5 arrangements held by EN POINTE with computer hardware and software
 6
     manufacturers, including EN POINTE’s Licensing Solution Provider (“LSP”)
 7
     authorization from Microsoft.
 8
 9          62.     EN POINTE and EN POINTE GOV utilize a shared, or at least
10
     overlapping, information technology infrastructure. Both companies utilize the same
11
12 online ordering system called “AccessPointe.” Both companies use email addresses that
13 end with the same domain, i.e., “@enpointe.com.”
14
            63.     EN POINTE has itself used EN POINTE GOV’s government contracts to
15
16 market itself, including by specific reference to EN POINTE GOV’s GSA IT 70 MAS
17 contract.
18
            64.     Since at least October 2012, EN POINTE SALES has received substantial
19
20 payments from EN POINTE GOV for performing and providing sales and marketing
21
     support services, procurement services, information technology systems services
22
23 (including telephones, email, computers, and printers), office equipment, meeting
24 facilities, facilities management, and accounting, tax, and legal services.
25
            65.     Including EN POINTE’s employees and revenues with those of EN
26
27 POINTE GOV results in employment and revenue figures that exceed (in some
28
                                                          18
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 19 of 29 Page ID #:112




 1 instances far exceed) the SBA-established size standards for all of the NAICS codes
 2 claimed by EN POINTE GOV.
 3
            66.     Moreover, even setting aside the revenue of EN POINTE or any other
 4
 5 affiliate, EN POINTE GOV’s revenues from transactions with the federal government
 6
     in both 2012 and 2013 exceeded the revenue-based size standard ($25.5 million) for
 7
     NAICS Codes 541511 (Custom Computer Programming Services), 541512 (Computer
 8
 9 Systems Design Services), 541513 (Computer Facilities Management Services), 541519
10
     (Other Computer Related Services - Exception 1), and 811212 (Computer and Office
11
12 Machine Repair and Maintenance).
13          67.     Between January 1, 2009 and December 31, 2013, EN POINTE GOV’s
14
     transactions with various federal agencies, with base and exercised options, were
15
16 obligated at an annual average in excess of $37.5 million. For the three-year periods
17 ending in 2012 and 2013, EN POINTE GOV’s average annual sales just under its GSA
18
     Schedule exceeded $30 million and $50 million, respectively.
19
20          68.     Despite not qualifying as a small business concern, EN POINTE GOV has
21
     received, and submitted claims for payment in connection with, at least 141 transactions
22
23 from various federal agencies specifically designated as small business set-asides. The
24 total value of those actions, including the base and all options, is $47,908,225.84.
25
26
27
28
                                                          19
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 20 of 29 Page ID #:113




 1                  EN POINTE’s False Statements, Certifications, and Claims

 2          69.     EN POINTE itself has falsely stated, represented, or certified to the United
 3
     States at least 39 times that it is a small business concern.
 4
 5          70.     First, in EN POINTE’s certifications made through SAM on at least the
 6
     following dates, representatives of EN POINTE certified that EN POINTE is “a small
 7
     business concern.” Such false certifications were made on at least the following dates:
 8
 9          June 27, 2012                      August 7, 2013           June 10, 2014
10
            71.     Each time, the representative further specifically certified that EN POINTE
11
12 is a small business under the SBA’s size standards for each of the following NAICS
13 codes:
14
                     334111                       334418                  423430
15
16                   334112                       334513                  519130
17          72.     Further, in some certifications, EN POINTE also specifically certified that
18
     it was a small business under the SBA’s size standards for former NAICS codes
19
20 334113, 334119, 334611, 334613, and 443120.
21
            73.     Second, EN POINTE falsely represented to the United States that it was a
22
23 small business concern in bidding for orders and/or contracts which were specifically
24 identified as small business set-asides.
25
26
27
28
                                                          20
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 21 of 29 Page ID #:114




 1          74.     EN POINTE has received, and submitted claims for payment in connection

 2 with, at least 16 transactions from various federal agencies designated as small business
 3
     set-asides with a total value of $187,055.88.
 4
 5          75.     Even setting aside the employees and/or revenue of EN POINTE GOV or
 6
     any other affiliate, since at least 1995 EN POINTE’s own employees and revenues have
 7
     exceeded the SBA-established size standards for all of the NAICS Codes identified
 8
 9 above in paragraphs 71 and 72.
10
                   EN POINTE GOV’s Under-Reporting of GSA Schedule Sales
11
12          76.     In the 1950s, the General Services Administration (“GSA”) created the

13 Federal Supply Schedule program, commonly referred to as the Multiple Award
14
     Schedule (“MAS”). The MAS program provides agencies with a simplified process of
15
16 acquiring commercial supplies and services in varying quantities while obtaining
17 volume discounts. Under the program, indefinite-delivery/indefinite-quantity (“IDIQ”)
18
     contracts are awarded to various contractors allowing them to provide identified
19
20 supplies and/or services at stated prices and subject to pre-negotiated terms and
21
     conditions. FAR 38.101(a). Once GSA issues a vendor an MAS contract, a buying
22
23 agency may simply order directly from the vendor.
24          77.     One way to do this is through GSA’s online shopping and ordering system
25
     called “GSA Advantage!”, one component of which is an electronic request-for-
26
27 quotation (“RFQ”) tool called “e-Buy.” Through e-Buy, the agency publicizes and
28
                                                          21
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 22 of 29 Page ID #:115




 1 disseminates a statement of work (“SOW”) and solicits quotations from GSA Schedule
 2 contractors.
 3
            78.     Since November 2, 2011, agencies have been able to set aside orders and
 4
 5 Blanket Purchase Agreements (“BPAs”) issued under the MAS program for small
 6
     business concerns, including RFQs posted on e-Buy. Such postings are to include a
 7
     label identifying what kind of a set-aside the RFQ is and language stating that quotes
 8
 9 from Schedule contractors who are not eligible for the set-aside will not be considered
10
     for award.
11
12          79.     MAS contracts are typically 20-year contracts comprised of a five-year

13 base period with three five-year option periods. As a condition of the award of an MAS
14
     contract, contractors are required to collect on GSA’s behalf a fee from the “ordering
15
16 agency” that utilizes the MAS contract equal to 0.75 percent of the amount invoiced to
17 such ordering agency. The MAS contractor is required to remit to GSA the fees
18
     collected on GSA’s behalf each calendar quarter. This contract usage fee is called the
19
20 Industrial Funding Fee (“IFF”) and it is intended to compensate GSA for the cost of
21
     running the schedule. Contractors pay the IFF on a quarterly basis in conjunction with
22
23 the filing of a GSA Form 72A, Contractor Report of Sales,” through which the
24 contractor reports its sales for the preceding calendar quarter.
25
26
27
28
                                                          22
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 23 of 29 Page ID #:116




 1          80.     The largest of GSA’s MAS contracts is the IT Schedule 70. It enables any

 2 federal government agency to directly contract with commercial vendors for
 3
     information technology products and services.
 4
 5          81.     Since 2003, Defendant EN POINTE GOV has had an IT Schedule 70 MAS
 6
     contract, GSA Schedule GS-35F-0372N.
 7
            82.     EN POINTE GOV has received at least 2,084 transactions from various
 8
 9 federal agencies utilizing its GSA Schedule, GS-35F-0372N. The total value of those
10
     actions, including the base and all options, is more than $260 million.
11
12          83.     From 2010 through March 31, 2014, EN POINTE GOV made sales in

13 excess of $208 million through its GSA Schedule, GS-35F-0372N.
14
            84.     However, on its GSA Form 72A, Contractor Reports of Sales submitted to
15
16 GSA for the same period, EN POINTE GOV reported less than $18 million in sales.
17          85.      Accordingly, for fiscal year 2010 through the first quarter of 2015, EN
18
     POINTE GOV reported less than 9% of its actual total sales through its IT Schedule 70
19
20 MAS contract, GSA Schedule GS-35F-0372N.
21
            86.     EN POINTE GOV has failed to report more than $190 million in sales
22
23 through its GSA schedule resulting in at least $1.4 million in unpaid IFF fees.
24
25
26
27
28
                                                          23
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 24 of 29 Page ID #:117




 1                                         COUNT I
             Conspiracy to Violate the False Claims Act – 31 U.S.C. § 3729(a)(1)(C)
 2
            87.     Relators repeat and reallege paragraphs 1 through 86 above as if fully set
 3
 4 forth herein.
 5
            88.     Beginning in or about 2005 and continuing through the date of this
 6
 7 Complaint, all Defendants willfully conspired to:
 8                  a.      knowingly present, or cause to be presented, false or fraudulent
 9
            claims for payment or approval by the United States;
10
11                  b.      knowingly make, use, or cause to be made or used, false records or
12
            statements material to false or fraudulent claims;
13
                    c.      knowingly make, use, or cause to be made or used, false records or
14
15          statements material to an obligation to pay or transmit money to the United
16
            States; and
17
18                  d.      knowingly conceal or knowingly and improperly avoid or decrease

19          an obligation to pay or transmit money to the United States,
20
     all in violation of 31 U.S.C. § 3729(a)(1).
21
22          89.     One or more of Defendants performed various overt acts in furtherance the
23 conspiracy, including but not limited to the following:
24
                    a.      On various dates (including but not limited to March 22, 2012, May
25
26          21, 2013, August 5, 2013, July 28, 2014, June 10, 2014, June 12, 2014, and July
27
28
                                                          24
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 25 of 29 Page ID #:118




1           21, 2014) submitting SAM registrations certifying that EN POINTE GOV was a

2           small business with respect to certain NAICS codes;
3
                    b.      On various dates (including but not limited to June 27, 2012, August
4
5           7, 2013, and June 10, 2014) submitting SAM registrations certifying that EN
6
            POINTE was a small business with respect to certain NAICS codes;
7
                    c.      In or about August 2010, in requesting modification of EN POINTE
8
9           GOV’s IT Schedule 70 MAS contract, falsely representing to GSA that it was a
10
            small business concern.
11
12                  d.      In or about March 2013, again representing and certifying that EN

13          POINTE GOV was a small business concern in connection with the government’s
14
            exercise of its five-year option on EN POINTE GOV’s GSA Schedule contract,
15
16          GS-35F-0372N;
17                  e.      On various dates, bidding for orders and/or contracts set aside for
18
            small business concerns as set forth above in paragraphs 48, 68, 73, and 82;
19
20                  f.      On various dates, submitting invoices and/or requests for payment to
21
            the United States in connection with orders and/or contracts set aside for small
22
23          business concerns as set forth above in paragraphs 68, 73, and 82; and

24                  g.      On a quarterly basis, from at least January 2008 through April 2015,
25
            submitting GSA Form 72A, Contractor Reports of Sales, that understate the
26
27          amount of EN POINTE GOV’s sales using its GSA Schedule.
28
                                                          25
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND                CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 26 of 29 Page ID #:119




 1          90.     By virtue of the conspiracy, the United States suffered damages and

 2 therefore is entitled to recover its damages, treble damages under the False Claims Act,
 3
     and a civil penalty for each violation thereof.
 4
 5                                            COUNT II
                              False Claims Act – 31 U.S.C. § 3729(a)(1)(A)
 6
                              Presentation of False or Fraudulent Claims
 7
            91.     Relators repeat and reallege paragraphs 1 through 90 above as if fully set
 8
 9 forth herein.
10          92.     Defendants knowingly presented, or caused to be presented, false or
11
     fraudulent claims for payment or approval by the United States.
12
13          93.     By virtue of the false or fraudulent claims knowingly made or caused to be
14
     made by Defendants, the United States suffered damages and therefore is entitled to
15
16
     recover its damages, treble damages under the False Claims Act, and a civil penalty for

17 each violation thereof.
18
                                            COUNT III
19                           False Claims Act – 31 U.S.C. § 3729(a)(1)(B)
20                           Making or Using False Records or Statements
                               Material to False or Fraudulent Claims
21
            94.     Relators repeat and reallege paragraphs 1 through 93 above as if fully set
22
23 forth herein.
24
            95.     Defendants knowingly made, used, or caused to be made or used, false
25
26 records or statements (i.e., the false representations, certifications, and re-certifications
27
28
                                                          26
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 27 of 29 Page ID #:120




 1 that EN POINTE and/or EN POINTE GOV were small business concerns and the false
 2 GSA Form 72A reports) material to false or fraudulent claims.
 3
            96.     By virtue of the false records or false statements knowingly made or caused
 4
 5 to be made by Defendants, the United States suffered damages and therefore is entitled
 6
     to recover its damages, treble damages under the False Claims Act, and a civil penalty
 7
     for each violation thereof.
 8
 9                                    COUNT IV
10
                       False Claims Act – 31 U.S.C. § 3729(a)(1)(G)
       Making or Using False Records or Statements Material to an Obligation to Pay
11
            97.     Relators repeat and reallege paragraphs 1 through 96 above as if fully set
12
13 forth herein.
14
            98.     Defendants knowingly made, used, or caused to be made or used, false
15
16
     records or statements (i.e., the false GSA Form 72A reports) material to an obligation to

17 pay money to the United States, specifically GSA’s Industrial Funding Fees.
18
            99.     By virtue of the false records or false statements knowingly made or caused
19
20 to be made by Defendants, the United States suffered damages and therefore is entitled
21 to recover its damages, treble damages under the False Claims Act, and a civil penalty
22
     for each violation thereof.
23
24                                          COUNT V
                           False Claims Act – 31 U.S.C. § 3729(a)(1)(G)
25
                   Concealing, Avoiding, or Decreasing an Obligation to Refund
26
            100. Relators repeat and reallege paragraphs 1 through 99 above as if fully set
27
28 forth herein.
                                                          27
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND              CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 28 of 29 Page ID #:121




 1          101. Defendants knowingly concealed or knowingly and improperly avoided or

 2 decreased an obligation to pay money to the United States funds, specifically GSA’s
 3
     Industrial Funding Fees, by underreporting the amount of EN POINTE GOV’s sales on
 4
 5 its GSA Schedule on its GSA Form 72A reports.
 6
            102. By virtue of the false records or false statements knowingly made or caused
 7
     to be made by Defendants, the United States suffered damages and therefore is entitled
 8
 9 to recover its damages, treble damages under the False Claims Act, and a civil penalty
10
     for each violation thereof.
11
12                                         PRAYER FOR RELIEF

13          WHEREFORE, Relators request that judgment be entered in favor of the United
14
     States and against Defendants jointly and severally as follows:
15
16          1.      For an award of damages in the amount of at least $49,495,281.72,
17 reflecting the value of the contracts obtained by Defendants’ improper conduct (at least
18
     $48,095,281.72) and the amount of IFF fees they failed to pay (at least $1.4 million);
19
20          2.      For an award of treble damages under the False Claims Act in the amount
21
     of at least $148 million;
22
23          3.      For civil penalties in the amount of at least $3,872,000, reflecting the

24 maximum penalty available under the False Claims Act ($11,000) for each false
25
     statement or claim, which total at least 352;
26
27          4.      For injunctive relief;
28
                                                          28
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND               CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
Case 2:14-cv-05865-RGK-JPR Document 23 Filed 01/28/16 Page 29 of 29 Page ID #:122




1           5.      For an award to Relators in the maximum amount permitted under 31

2 U.S.C. § 3730(d) or any other applicable law, including alternate remedy provisions;
3
            6.      For an award to Relators of their court costs, litigation expenses, and
4
5 reasonable attorney’s fees; and
6
            7.      For all such further relief as may be just and proper.
7
8
     Dated: January 28, 2016                                MCCOLLUM COUNSEL
9
10                                                  By:     ____/s/ Michael McCollum_____
11                                                          Michael B. McCollum (235447)
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20
                                                            Counsel for Relators Anthony Colangelo
21                                                          and Minburn Technology Group, LLC
22
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24
25
26
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28
                                                          29
     RELATORS’ FIRST AMENDED COMPLAINT FOR DAMAGES AND                    CASE NO. 2-14-cv-05865-RGK-JPR
     PENALTIES UNDER THE FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732
